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A() |99A (Rev. |2»"11) Ordcr Setling Conditionsof`Rclcusc l"agc 1 o|` ____3 __ Pagcs

 

UNITED STATES DISTRICT COURT

for the

District ofColumbia

United States of America

V.
Grecorv Cra'g ease No. 19-cR-125-ABJ

 

De_,'%ndr.-m
ORDER SETTING CONDITIONS OF RELEASE § I L E D

lT lS ORDERED that the defendant’s release is subject to these conditions: 'D‘VR 1 2 2919

_ _ Clurk, U.S. t`)istrict & Bankruptcy
(l) The defendant must not violate federal, state, or local law while on release. Cuurts tar the Distr|ct of Cg|umbia
(2) The defendant must cooperate in the collection ofa DNA sample ifit is authorized by 42 U.S.C. § l4l35a.

(3)

(4)

(5)

The defendant must advise the court or the pretrial services office or supervising officer in writing before making
any change of residence or telephone number.

The defendant must appear in court as required aad, if convicted, must surrender as directed to serve a sentence that
the court may impose.

The defendant must appear at: US District Court for the District of Co|umbia 333 Constitution Ave NW WDC

 

Ptrrce

Before Arny Jackson for a Status Hearing “-..,` am E_.re_c,c:,m .,;,-, 5

 

on AG>£’_\L.. \"S_. BC:)\Q A'v \C'.')M)_._

Ddte and '.-"r`me

if blank, defendant will be notified of next appearance

The defendant must sign an Appcarancc Bond, if ordered.

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AO 1998 (Rcv. lle l) Additional Conditions of Releasc Page _2_ of _3_ Pagcs
ADDlTIONAL CONDITIONS OF RELEASE

lT lS FURTHER ORDERED that thc defendant‘s release is subject to the conditions marked below:

( ) (6) The defendant is placed in the custody of:
Pcrson or organization
Addrcss (only ifabor~e is an organization)
City and state Te|. No.

who agrees to (a) supervise the defendant, (b) use every effort to assure the defendant’s appearance at all court proceedings, and (c) notify the court immediately
if the defendant violates a condition of release or is no longer in the eustodian's custody.

 

 

 

Signed:

 

Custodr'an Dare
( ) (7) The defendant must: ,.
( §§ ) (a) submit to supervision by and report for supervision to the §§ fhs‘\'¢\é~\. ‘E?'QN\ 035 gagij ,e`l m"'~"‘
telephone number (202) 442-1000 , no later than .
(b) continue or actively seek employment.
(c) continue or stan an education program.
(d) surrender any passport to: Pretrial Services Agency for the District of Co|umbia c_~»~ Neic\' %u§\"'~‘-'-‘b% ‘D"/
(c) not obtain a passport or other international travel document.
(f) abide by the`following restrictions on personal association, residence. or travel:

 

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( ) (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness in the investigation or prosecution,
including:

 

 

( ) (h) get medical or psychiatric treatment:

 

 

( ) (i) return to custody each at o’clock after being released at o'clock for employment. schooling,
or the following purposes:

 

 

 

( ) (j) maintain residence at a halfway house or community corrections centcr, as thc pretrial services office or supervising officer considers

ncccssary.

( ) (k) not possess a fireann, destructive deviee, or other weapon.

( ) (|) not use alcohol ( )at all ( ) excessively.

( ) (m) not usc or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
medical practitioner.

( ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with random
frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of prohibited
substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and accuracy of prohibited
substance screening or testing. 4

( ) (0) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by thc pretrial services office or

supervising otiicer.
( ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
( ) (i) Curfew. You are restricted to your residence every day ( ) from to , or ( ) as

directed by the pretrial services office or supervising oliiccr; or

( ) (ii) Home Detcntion. You arc restricted to your residence at all timesexcept foremployment; education; religious services; medica|,
substance abuse, or mental health treatment; attorney visits; court appearanccs; conn-ordered obligations; or other activities
approved in advance by the pretrial services office or supervising officer; or

( )(iii) Home lncarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
court appearances or other activities specifically approved by the court.

( ) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
requirements and instructions provided.
( )You must pay all or part ofthe cost of the program based on your ability to pay as determined by the pretrial services office or
supervising of`ficer.

( ) (r) report as soon as possible, to thc pretrial services office or supervising officer, every contact with law enforcement personncl, including
arrests, questioning, or traffic stops.

 

 

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AO l99C [Rev. 091'03) Advicc of l’cnulties Pnge 3 _ _ of ____;5_ Puges
AI)VICE OF PENALTIES AND SANCTlONS

 

TO THE DEFENDANT:
YOU ARE ADVISED OF THE FOLLOW|NG PENALT]ES AND SANCTIONS:

Violating any ofthe foregoing conditions of release may result in the immediate issuance ofa warrant for your arrest, n
revocation ofyour releasc, an order of detention, n forfeiture of any bond, and a prosecution for contempt ofcourt and could result in
imprisonment, a fine, or both.

While on release, ifyou commits federal felony offense the punishment is an additional prison term of not more than tcn years
and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
consecutive (1`. e., in addition to) to any other sentence you receive.

It is a crime punishable by up to ton years in prison. and a $250,000 fine, or both. to: obstruct a criminal investigation;
tamper with a witness, vietim, or inforrnant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or attempt
to intimidate a witness, victim,juror, informant, or officer of the court. The penalties for tampering, retaliation, or intimidation arc
significantly more serious ifthey involve a killing or attempted killing.

If. after release, you knowingly fail to appear as the conditions ofrelease require, or to surrender to serve a sentence.
you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. lfyou are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more w you will be lined

not more than $250,00{} or imprisoned for not more than 10 years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years - you will be fined not

more than 3250,000 or imprisoned for not more than five years, or both;

(3) any other felony - you will be fined not more than 3250,000 or imprisoned not more than two years. or both;

(4) a misdemeanor - you will be fined not more than 3100,000 or imprisoned not more than one year, or both.

A term ofimprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. ln
addition. a failure to appear or surrender may result in the forfeiture ofany bond posted.

Acknowledgment of the Defcndant

I acknowledge that I am the defendant in this case and that l am aware ofthe conditions ofrelease. l promise to obey all conditions
ofrelease, to appear as directed. and surrender to serve any sentence imposed. l am aware ofthe penalties and sanctions set forth above.

    

Dr'ferrri'nnr 's Sr'grrnrrrr¢-

C,g,/]&cf'/t doj/921 .L :) 5

Ch‘y tran Strrte

Direetions to the United States Marshal
( ) The defendant is ORDERED released alter processing
{ ) 'fhe United States marshal is ORDERED to keep the defendant in custody until notified by the clerk orjudge that the defendant

has posted bond auditor complied with all other conditions for release. ll`still m custody, the defendant must be produced before
the appropriatejudge at the time and place specified.
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Judr'cr'rrf Oj`ccr '.r Sigrrrrrtire
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DlSTR|BUTlON: COURT DEFENDANT PRETR|AL SERVICF. U,S. A`l'[URNEY U.S. MARSHAI.

  

Date: -

 

 

